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 9                                UNITED STATES DISTRICT COURT
10                                      DISTRICT OF NEVADA
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     LAS VEGAS POLICE PROTECTIVE ASSOCIATION
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 -   METRO INC.; LAS VEGAS METRO POLICE
13   MANAGERS & SUPERVISORS ASSOCIATION,                        CASE NO. 2:15-CV-01928-LDG-CWH
14                  Plaintiffs,
                                                                SUPPLEMENTAL DECLARATION
15           vs.                                                OF JOHN FAULTS IN SUPPORT OF
                                                                MOTION FOR PRELIMINARY
16                                                              INJUNCTION
     LAS VEGAS METROPOLITAN POLiCE
17   DEPARTMENT;

18
                     Defendant.
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               FAULIS, declare:
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         I. I am the Chairman of Plaintiff Police Managers & Supervisors Association (“PMSA”). I
22
            have read Mr. Crosby’s brief speculating that the police associations could do just fine
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             letting me and the other current representatives go and replacing us with cheaper help,
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             perhaps retirees or outside lawyers. The problem with these speculations is that they do
25
             not correspond to the real world: my fellow representatives and I are up to speed on a
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             rapidly-changing department and its new ways of providing policing services to the
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             community. Someone who retired a few years ago would be lost in this new environment.
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 I      and have to spend many months getting up to speed. Moreover, I do not believe there are
2       any Metro retirees with any association experience who would be interested in ourjobs if
3       these jobs paid significantly less than what my coworkers and 1 make. Metro retirees still
4       interested in active work can (and do) go to departments in other states and still receive
 5      their Nevada PIERS pensions while working in positions which are better paid and less
6       stressthl than being an association representative. We are constantly called into Internal
 7      Affairs investigatory meetings where the employees under investigation and the
 8      witnesses each are entitled to two representatives, and more often than not unwilling to
 9      waive such right. These sessions occur on average several times per week. The
10      associations’ regular attorneys Mr. Roger and Mr. Roberts cannot be everywhere at once,
11      so expecting them to cover all the internal affairs meetings themselves is absurd.
12   2. Nor could our associations save money by hiring outsiders instead of reimbursing the
13      Department for our pay. Our regular attorney works part-time for personal reasons and in
14      exchange for part time-hours, has agreed to a reduced rate which saves us significantly on
15      legal and employee costs, We would have to pay Mm market hourly rates to give up part-
16      time status; rates which from talking with various lawyers I understand to be over $200
17      per hour even for new associates. My coworkers and I receive much less than $200 an
18      hour. I know of no lawyers or other outsiders in Southern Nevada with experience and
19       interest in police oflicer representation other than current counsel for our associations.
20      Our outside litigation counsel’s firm charges $250 an hour. Hiring instead as staff
21      someone just out of law school or another type of union with likely no experience in
22      police work would severely degrade the quality of the representation being received by
23      our association’s members. While the two associations’ outside lawyers are allowed onto
24      crime scenes, that is only because they have an escort from among current Department
25       employees, namely the on-leave association representatives. If those representatives were
26       eliminated, outside lawyers would not be allowed on scene under current and foreseeable
27       security policy in the Department. Tins would hurt the quality of the representation
28       provided by the associations.
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 1   3. While the details of day-to-day health benefit administration are handled by trust
 2      administrative staff; we association representatives serve as trustees and as such are
3       required to attend meetings to review and revise trust policies and disputed claims.
 4      Reviewing the materials presented us to prepare for these meetings and attending the
 5      meetings consumes an average of severaL hours per week for each of us. Because the
 6      healthcare benefits field is changing so rapidly, we also have to spend rime attending
 7      educational conferences about this field. Through this role we representatives have made
 8      significant contributions to improving and maintaining the quality of the care received by
 9      the Department’s commissioned officers.
10   4. Our advocacy worlc is not only the above-described work, but also includes lobbying for
11      and against locai and state legislation, and urging support or defeat of political candidates
12       (for example, our association along with the PPA actively supported Mr. Lombardo’s
13       opponent in the Sheriffs election). We head into bargaining early next year. and
14       obviously this SB 241 issue will severely taint bargaining if not resolved by a court
15       decision before then. For example. we would have to submit two sets of proposals, one
16       assuming the law is valid (in which major raises are demanded in order to finance a major
17       dues increase along with perhaps restructuring of Metro’s operations so it takes over
18       some fl.inctions which our association now provides) and another very different and less
19       disruptive proposal assuming SB24I is invalid. I am certain the parties will disagree at
20       length over whether our wilt already paid in the past for its leave (we contend we must
21       have done so because there is documentary proof that Metro did exactly this with the
22       Civilian Employees’
                             4th
                                 position and there is no reason Metro would have treatcd our

23       associations better and let us have something for nothing), while the Sheriff contends past
24       consideration does not count. Our bargaining disputes can only be resolved via binding
25       arbitration (strikes being banned), but we cannot imagine how an arbitrator would deal
26       with a situation where there has been no ruling on SB 241 (issue two different orders in
27       the alternative?).
28   5. If a preliminary injunction is in effect for several months into a new contract, but is later
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                                                                              would make it possible
I          found erroneous, we do have significant reserves and assets that
                                                                                    , even though our
2          for us to repay Metro for our salaries and benefits for that time period
                                                                                  police association
3          association’s financial reserves are below the level recommended by
                                                                                      on or disaster
4          eNperts at conferences to deal with crises in bargaining or major litigati

5          situations.
                                                                        and Nevada that the foregoing
6   1 declare under penalty of perjury of the laws of the United States
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7   is true and correct. Executed this     ay of November 2015.




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 I                                       CERTIFICATE OF SERVICE
 2          The certify that on November 19, 2015, 1 electronically transmitted the attached document to
 3   the Clerk’s Office using the CM/ECF System for filing and transmittal and a Notice of Electronic
 4   Filing was electronically transmitted from the court to the e-mail address on file.
 )

 6                                                 /s/ Jo vce Arcliain
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